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BY ORDER OF THE COURT FLEDINTHE
CLARE E. CONNORS #7936 ~ UNTED STATES are
United States Attorney
District of Hawaii SEP 15 -
3 ¢
at___o’clock and__| Onin, Am wv
W. KEAUPUNI AKINA #11565 ~ John A. Mannie, Clerk

Assistant U.S. Attorney

Room 6-100, PJKK Federal Bldg.
300 Ala Moana Boulevard
Honolulu, Hawaii 96850
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Attorneys for Plaintiff
UNITED STATES OF AMERICA

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA, CR. NO. eC P 22- 000 3 Jie
Plaintiff, ) INDICTMENT
) .
VS. ) [21 U.S.C. §§ 841(a)(1), 841(b)C1 (A),
) and 841(b)(1)(C); 18 U.S.C. §§
FANGAOKE AHOLELEI, ) 924(c)(1)(A) and 922(g)(1)]
)
Defendant. )
)
)
)
)
)
INDICTMENT

The Grand Jury charges:
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Possession with Intent to Ssteatinna Mestharentiearine and Cocaine
(21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 841(b)(1)(C))

On or about July 20, 2021, within the District of Hawaii, FANGAOKE
AHOLELEI, the defendant, did knowingly and intentionally possess with intent to
distribute: (1) 50 grams or more of methamphetamine, its salts, isomers, and salts
of its isomers, a Schedule IT controlled substance; and (ii) a mixture or substance
containing a detectable amount of cocaine, its salts, optical and geometric isomers,
and salts of isomers, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1),
841(b)(1)(A), and 841(b)(1)(C).

Count 2
Possession of a Firearm in Furtherance of a Drug Trafficking Crime
(18 U.S.C. § 924(c)(1)(A)G))

On or about July 20, 2021, within the District of Hawaii, FANGAOKE
AHOLELEI, the defendant, did knowingly possess a firearm, namely a Taurus,
model PT 100 AF, .40 S&W caliber handgun bearing serial number SMC22634D,
in furtherance of a drug trafficking crime for which he may be prosecuted in a
court of the United States, that is, the drug trafficking crime charged in Count 1 of

this Indictment.

All in violation of Title 18, United States Code, Section 924(c)(1)(A)(i).
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Count 3
Felon in Possession of a Firearm and Ammunition
(18 U.S.C. §§ 922(g)(1) and 924(a)(1))

On or about July 20, 2021, within the District of Hawaii, FANGAOKE
AHOLELEI, the defendant, having previously been convicted of a crime
punishable by imprisonment for a term exceeding one year, and knowing that he
had been convicted of such a crime, did knowingly possess: (i) a firearm, namely a
Taurus, model PT 100 AF, .40 S&W caliber handgun bearing serial number
SMC22634D; and (ii) ammunition, namely ten (10) rounds of .40 caliber
ammunition, said firearm and ammunition having been shipped and transported in
interstate commerce.

All in violation of Title 18, United States Code, Sections 922(g)(1) and
924(a)(1).

FIRST FORFEITURE NOTICE (Drugs)

L. The allegations set forth in Count 1 of this Indictment are hereby re-
alleged and incorporated by reference as though set forth in full herein for the
purpose of noticing forfeiture pursuant to Title 21, United States Code, Section
853.

2. The United States hereby gives notice that, pursuant to Title 21,
United States Code, Section 853, upon conviction of an offense in violation of

Title 21, United States Code, Section 841(a)(1), FANGAOKE AHOLELETI, the
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defendant, shall forfeit to the United States of America any and all property
constituting, or derived from, any proceeds obtained, directly or indirectly, as the
result of such offense and any and all property used, or intended to be used, in any
manner or part, to commit, or to facilitate the commission of, the offense.
as If any of the property described in paragraph 2 above, as a result of
any act or omission of the defendant:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

C. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
Ci has been commingled with other property which cannot be

divided without difficulty,
the United States of America shall be entitled to forfeiture of substitute property up
to the value of the property described above in paragraph 2, pursuant to Title 21,
United States Code, Section 853(p).

SECOND FORFEITURE NOTICE (firearms)

l. The allegations contained in Counts 2 through 3 of this Indictment are
incorporated by reference as though set forth in full herein for the purpose of
noticing forfeiture pursuant to Title 18, United States Code, Section 924(d)(1), and

Title 28, United States Code, Section 2461(c).
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2 The United States hereby gives notice that, upon conviction of the
offenses in violation of Title 18, United States Code, Sections 924(c) or 922(g)(1),
as set forth in this Indictment, FANGAOKE AHOLELEL the defendant, shall
forfeit to the United States any firearms and ammunition involved in or used in the
commission of those offenses.

3. If by any act or omission of the defendant, any of the property subject
to forfeiture described in paragraph 2 herein:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

&, has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
€. has been commingled with other property which cannot be

subdivided without difficulty,
the United States of America will be entitled to forfeiture of substitute property up
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to the value of the property described above in paragraph 2, pursuant to Title 21,

United States Code, Section 853(p), as incorporated by Title 28, United States

Code, Section 2461(c).

DATED: SEP 1 5 2022 , at Honolulu, Hawaii.

A TRUE BILL

/s/ Foreperson
FOREPERSON, GRAND JURY

CBKARE E. CONNORS

United States Attorney
District of Hawaii

lef —

W. KEAUPUNI AKINA
Assistant U.S. Attorney

United States v. Fangaoke Aholelei
Indictment

Cr. No. pW 2 2-0008: JNiS
